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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


UNITED STATES OF AMERICA

V.

                                                 Criminal No. 3:17CR23-1-HEH
CLARENCE SCRANAGE,JR.,

       Defendant.


                              MEMORANDUM OPINION
                    (Denying Defendant's Motion for a New Trial)

       The Defendant, Clarence Scranage, Jr.("Scranage"), a physician, was convicted

on August 10,2017, by a jury in the United States District Court of conspiracy to

distribute and dispense oxycodone, and eighteen additional counts of distribution, and

aiding and abetting in the distribution and dispensing of oxycodone. The government

called a total oftwenty witnesses, including ten co-conspirators, who vividly laid out the

modus operandi ofthe conspiracy, along with a number of federal and state law

enforcement officers who participated in the investigation. The evidence revealed that

over a four-year period oftime, Scranage falsely issued 1,257 prescriptions, for a total of

223,140 30 mg pills, which were illicitly distributed to drug users.

       The evidence at trial demonstrated that Scranage utilized two primary conduits for

distribution of oxycodone to street level dealers. These were Andrell Hill ("Hill") and

Anthony Harper("Harper"). Both Harper and Hill entered pleas of guilty and testified as

government witnesses at Scranage's trial. Nine additional witnesses testified that they

received prescriptions written by Scranage from Hill and Harper. The witnesses testified
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 that the prescriptions for oxycodone were filled at pharmacies, sold on the street, and the

 proceeds returned to Hill and Harper. The individuals receiving the prescriptions
 testified that they never had contact with Scranage, nor were they one of his patients.

        Scranage's case is presently before the Court on his Motion for New Trial

("Motion", ECF No. 197)pursuant to Fed. R. Grim. P. 33, based upon newly-discovered

 evidence.^ The genesis ofthis Motion is his contention that Harper has recanted his
 testimony and that Scranage is actually innocent ofthe conspiracy. His claim is based on

 an affidavit filed by Raymond Johnson ("Johnson"), an inmate who was once confined in

 the same area ofthe Northern Neck Regional Jail as Harper. In his affidavit, Johnson

 contends that Harper revealed to him that he testified falsely during the trial in order to

 gain a substantial sentence reduction. (Def.'s Motion New Trial, Ex. 2,ECF No. 197-2.)

 The govemment has filed a response in opposition, as well as a supplemental response

 with supporting exhibits. Scranage has not filed a reply.

        Shortly after Scranage's Motion was filed, FBI Special Agent James R. Conner,

 III, one ofthe principal investigators in this case, interviewed Harper. While Harper

 acknowledged being housed at the Northern Neck Regional Jail with an individual named

"Ray," he denied having any discussion with him concerning Scranage's case. (Gov't's




'Scranage's initial pleading also included a Motion for an Indicative Ruling on the Motion for
Reliefthat is barred by a pending appeal, pursuant to Fed. R. Crim. P. 37(A)(3)(ECF No. 198).
However,on November 9,2018,the United States Court of Appeals for the Fourth Circuit
affirmed Scranage's convictions for conspiracy to distribute and dispense oxycodone, and
multiple counts of distribution of oxycodone(ECF No. 204). Therefore, his Motion under Fed.
R, Crim. P. 37(A)(3) is moot.
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Suppl. Resp. Opp'n, Ex. 1, ECF No. 210-1.)^ Special Agent Conner allowed Harper to

review the affidavit signed by Johnson. Harper reiterated that his testimony during the

trial was truthful and that Scranage was fully aware of his role in the conspiracy to

distribute oxycodone. "Harper recalled] watching Scranage write out multiple

prescriptions to various individuals not present at the time, and not patients of Scranage's

practice." {Id.)

        Special Agent Conner subsequently interviewed Johnson.^ Johnson revealed to

the agent that he was importuned by Scranage to execute the affidavit falsely stating that

Harper had recanted his testimony. (Gov't's Suppl. Resp. Opp'n,Ex. 2, ECF No. 210-

2.) The purpose ofthe affidavit, according to Scranage, was "to win" a new trial. {Id.)

Scranage assured Harper that "nothing would happen" to him for signing the affidavit.

{Id.) Johnson conceded to the agent that he had not discussed Scranage's case with

Harper and that his contentions ofthe contrary in the affidavit were "absolutely false in

their entirety." {Id.) He informed the agent that Scranage "coached" him in drafting the

affidavit and edited the drafts. {Id.) Johnson also admitted to the agent that Scranage
offered him assistance after his release from prison, ostensibly to elicit his cooperation."*

{Id.)


^ Harper identified a photo of Raymond Johnson as the person referred to as"Ray" during
Special Agent Conner's interview. (Gov't's Suppl. Resp. Opp'n, Ex. 1.)
^ In his investigation reports, attached as exhibits to the Government's Supplemental Response in
Opposition, Special Agent Conner notes that Johnson prefers to be called "Kera" and he uses that
name throughout the reports. Here, the Court will continue to use the name "Johnson."
"* In his final interview with Special Agent Conner, Johnson revealed that"a mysterious money
order for $200" was placed in his jail account shortly before the affidavit was presented to him
for signature. (Gov't's Suppl. Resp. Opp'n, Ex. 3, ECF No. 210-3.)
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       The United States Court of Appeals for the Fourth Circuit has counseled trial

courts to set a high bar in reviewing motions for a new trial based on a witness's

recantation oftrial testimony, particularly when it is the result of coercion. United States

V. Johnson, 487 F.2d 1278, 1279(4th Cir. 1973). Recantations of prior testimony are

"looked upon with the utmost suspicion." Wolfe v. Johnson, 565 F.3d 140, 166(4th Cir.

2009)(citing United States v. Johnson,487 F.2d at 1279).

       Even without the testimony of Harper, the evidence introduced by the government

was more than sufficient to demonstrate Scranage's guilt beyond a reasonable doubt as to

each count in the Indictment. Harper was one ofthe earliest co-conspirators to plead
guilty and concede his complicity in the distribution scheme. Moreover,the majority of
Harper's testimony was corroborated by other witnesses. Therefore, this Court is not

convinced that Harper's trial testimony was false.

       This Court must weigh Scranage's representations in connection with this Motion

in the context of his prior history of misrepresentations and deception. In the immediate

case, Scranage received an enhancement in his U.S. Sentencing Guidelines based upon
his introduction of altered documents during his trial in this case. FBI Special Agent Jean
Wyatt, the principal investigator in this case, testified in rebuttal that medical records

introduced into evidence by Scranage had been significantly altered. In fact, Scranage,
who chose to represent himself despite the Court's advice to the contrary, declined to
cross-examine Agent Wyatt. This Court is also aware that Scranage was previously
convicted by this Court in 2004 of making false statements to law enforcement and

obstruction ofjustice.
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        After a thorough review ofthe record in this case, this Court finds no basis under

Fed. R. Grim. P. 33 to grant a new trial based on newly-discovered evidence—^because

there is none.


        Accordingly, Scranage's Motion for a New Trial will be denied.^ An appropriate

Order will accompany this Memorandum Opinion.



                                                                     Is/
                                                     Henry E. Hudson
                                                     Senior United States District Judge

Date:
Richmond, Virginia




 At the time this Motion was filed, Scranage was represented by counsel on his appeal to the
Fourth Circuit of his conviction in this case. However,shortly after the government filed its
response in opposition to this Motion, and after the Fourth Circuit issued its Order affirming
Scranage's conviction, counsel withdrew with leave of court. (ECF No. 207.)
